4:18-cv-03127-BCB-MDN Doc # 380-4 Filed: 05/01/23 Page 1 of 4 - Page ID # 4528




                                                                         1 of 4
4:18-cv-03127-BCB-MDN Doc # 380-4 Filed: 05/01/23 Page 2 of 4 - Page ID # 4529




                                                                         2 of 4
4:18-cv-03127-BCB-MDN Doc # 380-4 Filed: 05/01/23 Page 3 of 4 - Page ID # 4530




                                                                         3 of 4
4:18-cv-03127-BCB-MDN Doc # 380-4 Filed: 05/01/23 Page 4 of 4 - Page ID # 4531




                                                                         4 of 4
